Exhibit B
Lutron Radio Powr Savr Occupancy/Vacancy Sensor (“The Accused system”)
          US7233256                                                         Evidence
 1. An activation system, The accused system is an activation system which activates an intrusion alarm. The system comprises
 comprising                 a receiving device (e.g., an optical device such as an optical filter or Lens) which receives an activation
 a receiving device (1) for signal (e.g., an IR signal).
 receiving an activation
 signal (SIGA);




                                http://www.lutron.com/en-
                                US/pages/SupportCenter/support.aspx?productName=Radio%20Powr%20Savr%20Occupancy/Vaca
                                ncy%20Sensor&qid=3649&PRDCMP=TRUE&subgroup=Vacancy%20Sensor
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ron-lrf2ocr2bpwh-specs.pdf?1515014493
http://www.nutsvolts.com/magazine/article/light-sensitive-circuits
https://learn.adafruit.com/pir-passive-infrared-proximity-motion-sensor/how-pirs-work
an activation circuit (4) for The accused system comprises an activation circuit (e.g., the hardware component of the accused
activating an electric circuit product which executes signal processing algorithm pertaining to motion detection) for activating an
(5); and                       electric circuit (e.g., an Alarm/LED circuit).
http://www.lutron.com/en-
US/pages/SupportCenter/support.aspx?productName=Radio%20Powr%20Savr%20Occupancy/Vaca
ncy%20Sensor&qid=3649&PRDCMP=TRUE&subgroup=Vacancy%20Sensor
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                              ron-lrf2ocr2bpwh-specs.pdf?1515014493

at least one pyroelectric The accused system comprises at least one pyroelectric element which is connected to the receiving
element (3) connected to the device (e.g., an optical device such as an optical filter or Lens) and the activation circuit (e.g., the
receiving device (1) and the hardware component of the accused product which executes signal processing algorithm pertaining to
activation circuit (4), said at
least    one     pyroelectric   motion detection), said at least one pyroelectric element producing a voltage that actuates said
element producing a voltage     activation circuit when heated by the activation signal (e.g., an IR signal) from said receiving.
that actuates said activation
circuit (4) when heated by      When the accused system receives an IR signal (i.e., an intruder presence), pyroelectric elements get
the activation signal from      heated by IR radiation, so it generates sufficient voltage to actuate the activation circuit (e.g., the
said receiving device.          hardware component of the accused product which executes signal processing algorithms pertaining
                                to motion detection) for activating an electric circuit (e.g., alarm circuit/LED Circuit) to generate an
                                alarm signal.




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                                ncy%20Sensor&qid=3649&PRDCMP=TRUE&subgroup=Vacancy%20Sensor
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